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      ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
      · · · · · · · · · ·WESTERN DISTRICT OF MICHIGAN
      ·2· · · · · · · · · · · SOUTHERN DIVISION

      ·3· ·D.L.; K.S.F.; and K.B.,
      · · ·by and through her parent
      ·4· ·and next friend H.B.,

      ·5· · · · · · · · · Plaintiffs,· · · · Case No. 22-cv-00838
      · · ·vs.
      ·6· · · · · · · · · · · · · · · · · · ·Hon. Robert J. Jonker
      · · ·MICHIGAN DEPARTMENT OF
      ·7· ·EDUCATION,· · · · · · · · · · · · Mag. Phillip J. Green

      ·8· · · · · · · · · Defendant.
      · · · · · · · · · · · · · · · · · ·/
      ·9

      10· · · · · DEPOSITION OF KE'AUJANAA SHEPHERD-FRIDAY

      11· · · · · Taken by the Defendant at 251 N. Rose Street,

      12· ·Suite 200, Kalamazoo, Michigan, on Tuesday, March 26,

      13· ·2024, commencing at 10:12 a.m.

      14· ·APPEARANCES:

      15· ·For the Plaintiffs: MS. JACQUELYN N. KMETZ (P83575)
      · · · · · · · · · · · · ·MI AECRES
      16· · · · · · · · · · · ·P.O. Box 705
      · · · · · · · · · · · · ·Ludington, Michigan 49431
      17· · · · · · · · · · · ·231-794-2379

      18· ·For the Defendant: MS. KATHLEEN A. HALLORAN (P76453)

      19· · · · · · · · · · · (via Zoom videoconference)
      · · · · · · · · · · · · MS. TICARA D. HENDLEY (P81166)
      20· · · · · · · · · · · MS. AMANDA E. ZACK (P82326)
      · · · · · · · · · · · · Michigan Department of Attorney
      21· · · · · · · · · · · General Health, Education &
      · · · · · · · · · · · · Family Division
      22· · · · · · · · · · · P.O. Box 30758
      · · · · · · · · · · · · Lansing, Michigan 48909
      23· · · · · · · · · · · 517-335-7603

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      · · ·REPORTED BY:· · · ·Mr. Carl M. DePerro, CSR-4284
      25· · · · · · · · · · · Certified Shorthand Reporter



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     ·1· · · · my body warm, or to do not go into like a sickling          ·1·
                                                                            1· · · · the hospital and say oh, what's your pain level?· 10
     ·2· · · · crisis.                                                     ·2· · · · out of 10.· So yeah.
     ·3· ·Q.· ·How often would you say in the last year have you gone      ·3· ·Q.· ·Okay.· Do you think you have had multiple sickling
     ·4· · · · into a sickling crisis?                                     ·4· · · · crises in 2023?
     ·5· ·A.· ·In the last year I would I have gone into a couple of       ·5· ·A.· ·Yes, especially around the winter time, yes.
     ·6· · · · sickling crises.· So it's very often.                       ·6· ·Q.· ·How about back in 2022?· Do you know how many days you
     ·7· ·Q.· ·And what happens when you go into a sickling crisis?        ·7· · · · spent in the hospital?
     ·8· ·A.· ·Like the process or --                                      ·8· ·A.· ·Same thing.· I spend a lot of time in the hospital,
     ·9· ·Q.· ·Yes.· Tell me how you feel, what happens to your body.      ·9· · · · basically.
     10· · · · Do you go to the hospital?· Just tell me about your         10· ·Q.· ·Would it be fair to say you have a few sickling crises
     11· · · · perception of what happens when you are in a sickling       11· · · · a year, and then with each crisis you are in the
     12· · · · crisis?                                                     12· · · · hospital for about three weeks to a month?
     13· ·A.· ·Okay.· So when I go into a sickling crisis my body          13· ·A.· ·Yes.
     14· · · · shuts down, meaning my pain is everywhere in my body.       14· ·Q.· ·Was that the same in 2021?
     15· · · · My arms, my back, my chest.· It's hard for me to            15· ·A.· ·Yes.
     16· · · · breath.· I have shortness of breath.· My legs, I can        16· ·Q.· ·How about 2020?
     17· · · · barely walk.· My body just shuts down, to the point         17· ·A.· ·Same.
     18· · · · where I can't walk, barely can breathe.· And, yeah.         18· ·Q.· ·Has it been like that your whole life would you say?
     19· ·Q.· ·Do you go to the hospital when that happens?                19· ·A.· ·Oh, yeah.
     20· ·A.· ·I do.· Sometimes I try to do like a couple of home          20· ·Q.· ·So your whole life you have a sickling crisis, and then
     21· · · · remedies that I know of, and if the home remedies           21· · · · you go to the hospital for approximately three weeks to
     22· · · · doesn't work, then I will excuse myself to the ER.          22· · · · a month?
     23· ·Q.· ·And what do the home remedies entail?                       23· ·A.· ·Yes.
     24· ·A.· ·So the home remedies like my pain medicine, like            24· ·Q.· ·That's accurate?
     25· · · · staying warm, heated blankets, hot packs.· Like my          25· ·A.· ·Uh-huh (affirmative).


                                                                 Page 15                                                                    Page 17
     ·1· · · · breathing treatments, my inhalers, things of that sort.     ·1· ·Q.· ·That's a yes?
      2· ·Q.· ·So far this year in 2024 how many days have you spent
     ·2·                                                                   ·2· ·A.· ·Yes.
     ·3· · · · in the hospital, would you say?                             ·3· ·Q.· ·Can you tell me a little about how your sickle cell
     ·4· ·A.· ·I would say probably about 30 days in the hospital.         ·4· · · · affects say an average day?· Let me rephrase that.
     ·5· ·Q.· ·Was that 30 days?                                           ·5· · · · · · · · · Kind of walk me through an average day from
     ·6· ·A.· ·Yeah, like a month.· Like three weeks to a month.           ·6· · · · when you wake up.· What does it look like for you?
     ·7· ·Q.· ·And that's just January, February and March of 2024?        ·7· ·A.· ·So when I wake up I have like a weak immune system.· So
     ·8· ·A.· ·Yes.                                                        ·8· · · · it depends.· Say today I woke up this morning, and I am
     ·9· ·Q.· ·Now, in 2023 do you know how long you were in the           ·9· · · · always in some type of pain.· Like I am always having
     10· · · · hospital?                                                   10· · · · some type of pain somewhere on my body.· So today I was
     11· ·A.· ·I was in the hospital often.· The same things, three        11· · · · having back pain.· But prior to today I was having back
     12· · · · weeks to a month in the hospital.                           12· · · · pain yesterday.· So this morning it was a little bit
     13· ·Q.· ·Do you think the whole time in 2023 it was three weeks      13· · · · worse.· I had to use my heating blanket on my back and
     14· · · · to a month?                                                 14· · · · take my pain medicine, take my medicine, all of my
     15· ·A.· ·Yes.· Every time I am hospitalized it takes a while for     15· · · · medicine, hydroxyurea, JADENU, Oxycodone.· I take that
     16· · · · my sickling crisis to go back to normal.· So it takes a     16· · · · daily, on my daily basis every morning.· So that's
     17· · · · while.· So yeah, so about three weeks that it takes         17· · · · that.
     18· · · · that long for my body to revamp I should say, or go         18· · · · · · · · · And then throughout the day I try to move
     19· · · · back to normal.                                             19· · · · around so that my body won't get tensed or stuck in one
     20· ·Q.· ·Sure.· And is it three weeks to a month each sickling       20· · · · place.· So I move around and, yeah.
     21· · · · crisis would you say?                                       21· ·Q.· ·And when you say move around, what does that usually
     22· ·A.· ·Hospitalization, yes.                                       22· · · · entail?· Does that mean go for a walk or walk around
     23· ·Q.· ·Okay.                                                       23· · · · the house?· Tell me about that.
     24· ·A.· ·Because you have to understand, me being hospitalized,      24· ·A.· ·Like walk around the house, or if it's a good day I
     25· · · · my sickling crisis is that bad.· Like when I go into        25· · · · will go outside and walk around.



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     ·1· ·A.· ·Yes, definitely.                                                  ·1· · · · you attended school.· Where did you attend elementary
     ·2· ·Q.· ·How would you say that it affected your job?                      ·2·
                                                                                  2· · · · school?
     ·3· ·A.· ·It affected my job because I actually wanted to like be           ·3· ·A.· ·Arcadia Elementary.
     ·4· · · · productive, but my body was rejecting, like no, can't             ·4· ·Q.· ·And is that a Kalamazoo public school?
     ·5· · · · do that, basically.                                               ·5· ·A.· ·Yes.
     ·6· ·Q.· ·Based on your past experience do you think you will               ·6· ·Q.· ·And what grades did you attend at Arcadia?
     ·7· · · · ever be able to work, given your sickle cell diagnosis?           ·7· ·A.· ·I think first grade to like third grade.
     ·8· ·A.· ·Not really.· And I probably can say that's why I am not           ·8· ·Q.· ·And then after third grade where did you go?
     ·9· · · · currently working at the moment, only because I know              ·9· ·A.· ·After third grade, I can't remember.
     10· · · · like what the outcome will be.                                    10· ·Q.· ·Do you remember the name of any other elementary school
     11· ·Q.· ·What would the outcome be if you tried to work?                   11· · · · you attended besides Arcadia?
     12· ·A.· ·Sickling crisis and my body rejecting me maneuvering              12· ·A.· ·Parchment Elementary.· I think from third grade I went
     13· · · · throughout the day.· Even though I do maneuver, but               13· · · · to Parchment.
     14· · · · it's just like to a certain extent.                               14· ·Q.· ·Can you speak up a little for me?
     15· ·Q.· ·Do you think you would even be able to work part time,            15· ·A.· ·Parchment Elementary School.
     16· · · · or is that too much?                                              16· ·Q.· ·Parchment you said?
     17· ·A.· ·I was working part time in the past, but again, I mean,           17· ·A.· ·Yes, and that is not a KPS school.
     18· · · · I don't know.· I would say maybe.                                 18· ·Q.· ·And where is that school?
     19· ·Q.· ·What circumstances do you think you could maybe work              19· ·A.· ·Parchment, Michigan.
     20· · · · part time?                                                        20· ·Q.· ·Do you know how long you attended there?
     21· ·A.· ·What do you mean by that?                                         21· ·A.· ·For about the rest of third grade.· I would say about a
     22· ·Q.· ·Like what type of job do you think you could handle               22· · · · few months.
     23· · · · without going into a sickle cell crisis?                          23· ·Q.· ·How about middle school?· Where did you attend middle
     24· ·A.· ·Well, I actually really enjoyed the housekeeping job I            24· · · · school?
     25· · · · had before.· Yeah.                                                25· ·A.· ·Linden Grove Middle School.


                                                             Page 27                                                                           Page 29
     ·1· ·Q.· ·Have you applied for any part time housekeeping jobs?             ·1·
                                                                                  1· ·Q.· ·And is that a Kalamazoo public school?
     ·2· ·A.· ·No.                                                               ·2· ·A.· ·Yes.
     ·3· ·Q.· ·You mentioned earlier that you have some anxiety around           ·3· ·Q.· ·And what grades did you attend Linden Grove?
     ·4· · · · driving.· Do you have a driver's license?                         ·4· ·A.· ·Sixth through eighth grade.
     ·5· ·A.· ·Not at the moment.                                                ·5· ·Q.· ·And you graduated from Linden Grove, correct?
     ·6· ·Q.· ·Did you ever have one?                                            ·6· ·A.· ·Well, tried to, yes.
     ·7· ·A.· ·No.                                                               ·7· ·Q.· ·What do you mean tried to?
     ·8· ·Q.· ·And why don't you have one?· Because of the anxiety and           ·8· ·A.· ·Well, the end of my eighth grade year I was
     ·9· · · · your medications?                                                 ·9· · · · hospitalized, I would say from like the end of my
     10· ·A.· ·Well, I don't have a driver's license at the moment               10· · · · eighth grade trimester.· So that caused Linden Grove to
     11· · · · because, well, in high school like when me and my twin            11· · · · take me off of their roster.· And so the day of eighth
     12· · · · were in high school, like I was always hospitalized.              12· · · · grade graduation my mom got me and my twin prepared.
     13· · · · So I didn't really have the time to actually, you know,           13· · · · She was prepared.· She was graduating.· And I thought
     14· · · · do drivers training and things of that sort.· So she              14· · · · because I finished eighth grade that I was going to be
     15· · · · got her license before me, so I wasn't able to like, I            15· · · · graduating with my twin.· But Linden Grove took it upon
     16· · · · just didn't have the time to.                                     16· · · · their self to take me off of their roster and not
     17· ·Q.· ·And now as an adult what stops you from getting your              17· · · · informing me or my mother.
     18· · · · driver's license?                                                 18· · · · · · · · · So as I got discharged from the hospital the
     19· ·A.· ·Car accidents.                                                    19· · · · day of graduation, they are like oh, Ke'Aujanaa, no,
     20· ·Q.· ·And what do you mean by that?                                     20· · · · you cannot walk stage.· We took you off of our roster.
     21· ·A.· ·Like people don't know how to drive.· Like I see it               21· · · · And I was disappointed because it's like, why is this
     22· · · · every day.· And I hear that saying you have to drive              22· · · · happening.· Yeah.
     23· · · · for other people, but it's just like frightening.· It             23· ·Q.· ·Do you know if you complained to the Michigan
     24· · · · frightens me really bad.                                          24· · · · Department of Education about that?
     25· ·Q.· ·Let's talk a little about your school history and where           25· ·A.· ·I did.· I am sure my mom did.



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     ·1· ·Q.· ·Do you know for certain if she did?                             ·1· · · · · · · · · So with me being hospitalized a lot during
     ·2· ·A.· ·I don't.                                                        ·2· · · · the school year, I would come back to school, you know,
     ·3· ·Q.· ·And I want to just make sure I know the time line of            ·3· · · · I would feel better and I would come back school and
     ·4· · · · the schools that you attended when you were in high             ·4· · · · they would like oh, she is lying about her sickness, or
     ·5· · · · school.                                                         ·5· · · · she doesn't have sickle cell, she is lying.· Or she
     ·6· · · · · · · · · The school year 2016 to 2017, was that the            ·6· · · · looks fine.
     ·7· · · · first year that you were in high school?                        ·7· · · · · · · · · And I would always tell people, still to this
     ·8· ·A.· ·Yes.                                                            ·8· · · · day, looks can be deceiving.· I might look like I am
     ·9· ·Q.· ·And where did you attend?                                       ·9· · · · fine, but I don't feel like I am okay.
     10· ·A.· ·Kalamazoo Central High School.                                  10· · · · · · · · · So people, growing up people didn't know
     11· ·Q.· ·And how about for the 2017 to 2018 school year?                 11· · · · about sickle cell or they didn't know how I felt,
     12· ·A.· ·2017-2018 I think it was Kalamazoo Central still.               12· · · · nothing.· They just bullied me.
     13· ·Q.· ·And '18 to '19 school year?· Do you remember if that            13· · · · · · · · · I remember some girl, she was bullying me and
     14· · · · was Kalamazoo or Phoenix?                                       14· · · · she said oh, she is faking sickness.· I am just like
     15· ·A.· ·That was Phoenix, definitely.                                   15· · · · well, how can you fake a sickness?· If you are sick you
     16· ·Q.· ·And the '19 to '20 school year?                                 16· · · · are sick.· Period.· It's no ifs ands or buts about it.
     17· ·A.· ·2019-2020 was Comstock.                                         17· · · · It's not faking nothing.
     18· ·Q.· ·And how about the 20-2021 school year?· Where did you           18· · · · · · · · · And I guess they would state that because of
     19· · · · attend?                                                         19· · · · my appearance or how I looked.· I don't know how I
     20· ·A.· ·Comstock.                                                       20· · · · dressed.· I don't know.· But they would just bully me
     21· ·Q.· ·And how about 21-22 school year?                                21· · · · because of my, still to this day I get bullied.· So
     22· ·A.· ·It was still Comstock from there on.                            22· · · · it's like, I don't know.
     23· ·Q.· ·What kind of school is Phoenix?                                 23· ·Q.· ·And the teasing, did it culminate in a physical fight?
     24· ·A.· ·Phoenix is an alternative school.                               24· ·A.· ·Yes.
     25· ·Q.· ·Do you know what that means by alternative school?              25· ·Q.· ·Tell me about that physical fight.· Who was involved,


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     ·1· ·A.· ·Somewhat.                                                       ·1· · · · what happened?
     ·2· ·Q.· ·How would you describe it?                                      ·2· ·A.· ·Me and my three sisters from --
     ·3· ·A.· ·I would describe it as -- I don't know what I would             ·3· ·Q.· ·Take your time.· And we can take a break if you need
     ·4· · · · describe it as because I wasn't even supposed to be             ·4· · · · to.
     ·5· · · · there.· I don't know.                                           ·5· ·A.· ·My older sister, Ke'Asia, she was getting tired of
     ·6·
      6· ·Q.· ·Do you know why you were moved to Phoenix?                      ·6· · · · people like bullying us.· So some girl, the girl that
     ·7· ·A.· ·I don't.                                                        ·7· · · · was bullying my sister Ke'Asia, I guess she said
     ·8· ·Q.· ·Was there an altercation at school that led to that             ·8· · · · something about me, and she basically got all of her
     ·9· · · · transfer?                                                       ·9· · · · friends to like put their hands on my sister.· Like
     10· ·A.· ·Yes.                                                            10· · · · they basically contemplated on what they wanted to do
     11· ·Q.· ·Tell me about that altercation.                                 11· · · · to my sister after class.
     12· ·A.· ·So the altercation that led to me going to Phoenix was,         12· · · · · · · · · Because my sister had a class with her, and
     13· · · · well, from ninth grade on to the time I was at                  13· · · · after class my sister, we all three of us we had the
     14· · · · Kalamazoo Central me and my siblings were getting               14· · · · same lunch period.· And my sister, she was telling us
     15· · · · bullied.· Why, there was no reason.                             15· · · · about, you know, the girl in class and how she was
     16· ·Q.· ·Was there a physical altercation that happened because          16· · · · saying like stuff to her, like not towards her, but
     17· · · · of the bullying?                                                17· · · · about her.· And like just nitpicking with her in class.
     18· ·A.· ·(Nods head.)                                                    18· · · · · · · · · So after class there was lunch, we had lunch,
     19· ·Q.· ·Can you tell me a little about it?· Take your time?             19· · · · and we was always together at lunch.· So my sister, she
     20· ·A.· ·There was no exact reason, but mine was because of my           20· · · · came to lunch.· She was telling me and my twin like
     21· · · · sickle cell.· And people, they would bully me because,          21· · · · hey, this is just happening in class and, you know,
     22· · · · well, I have sickle cell but they didn't know I had             22· · · · basically we were just trying to protect each other.
     23· · · · sickle cell because I wasn't verbally saying oh, I have         23· · · · Because now, as she was saying like she was, her and
     24· · · · a disability, because I just didn't feel comfortable            24· · · · her friends were contemplating on doing something to my
     25· · · · doing that.                                                     25· · · · sister.· They didn't know we had the same lunch period.



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     ·1· · · · · · ·So after class the girl that was bullying,                ·1· · · · they kept mentioning like, you know, KPS, and I didn't
     ·2· ·like nitpicking with my sister Ke'Asia.· She came to                ·2· · · · understand that.· I just wasn't comfortable, and I
     ·3· ·our lunch period that was not her lunch period, and she             ·3· · · · didn't understand why they kept mentioning KPS.
     ·4· ·said something.· She came up to my sister and said                  ·4· ·Q.· ·When would they mention KPS to you?
     ·5· ·something, and my sister, she was fed up.· She got                  ·5· ·A.· ·Just like readibly [sic], like when me and my mom had
     ·6· ·tired of it.· So they just started fighting.                        ·6· · · · my IEP meeting they kept mentioning KPS.
     ·7· · · · · · ·And I was trying to get my sister breaking                ·7· ·Q.· ·And in what context would they mention KPS?
     ·8· ·up, you know, like you all stop, and the girl that was              ·8· ·A.· ·I am not sure.· Like they would tell my mom something
     ·9· ·nitpicking with my sister, her friends, they were                   ·9· · · · about KPS.· I don't know.· But they just kept
     10· ·fighting my twin sister.· Like at this point they were              10· · · · mentioning KPS.
     11· ·getting jumped.· And so they were jumping on my sister,             11· ·Q.· ·So you don't know why KPS was part of the conversations
     12· ·my twin sister and my other sister Ke'Asia.                         12· · · · at Comstock?
     13· · · · · · ·And so after that I was trying to break it                13· ·A.· ·Yes.· I was just letting Comstock know hey, I was here
     14· ·up.· The security guard put me in a headlock, and I am              14· · · · to further my education to get the rest of the credits
     15· ·like what are you doing this to me for?· I didn't do                15· · · · that I needed in order to receive my diploma, and they
     16· ·nothing.· I wasn't the aggressor.· Like, you know, I am             16· · · · didn't care.
     17· ·trying to prevent this from happening.· And he puts me              17· ·Q.· ·When you say they didn't care, what makes you think
     18· ·in a headlock, and I am like, what are you doing this               18· · · · that?
     19· ·to me for?· I didn't do anything.· And he like, you are             19· ·A.· ·Because they weren't trying to help me receive those
     20· ·always like you know, and he just started yelling at me             20· · · · credits.
     21· ·and I am just like I am not even the problem here.                  21· ·Q.· ·What kind of help were you seeking to receive those
     22· · · · · · ·So they took my sisters down to the office.               22· · · · credits that you think that they failed to help you
     23· ·They called my mom and told my mom what happened.· And              23· · · · with?
     24· ·it's been going on like this since the school year,                 24· ·A.· ·Like not receiving like schoolwork and things of that
     25· ·since the whole school year I was getting picked on and             25· · · · such.


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     ·1· · · · bullied and nitpicked.· It was just a lot.                     ·1· ·Q.· ·Anything else besides not receiving school work?
     ·2· ·Q.· ·Were you suspended for that incident?                          ·2· ·A.· ·(Shakes head.)
     ·3· ·A.· ·Yes.· And from that suspension we couldn't come back to        ·3· ·Q.· ·Remember, you have to say yes or no.
     ·4· · · · school.· We couldn't do nothing.· And so from that             ·4· ·A.· ·No.
     ·5· · · · suspension KPS decided to transfer me and my sister            ·5· ·Q.· ·And when you say not receiving schoolwork, what do you
     ·6· · · · Ke'Asia to Phoenix.· Why, I don't know.· They just said        ·6· · · · mean by that?
     ·7· · · · we can't no longer come back to Kalamazoo Central.· So         ·7· ·A.· ·Like, I wasn't receiving my schoolwork.· And when I
     ·8· · · · that's when we were placed at an alternative school.           ·8· · · · would go to school they wouldn't help me.· Like I say,
     ·9· ·Q.· ·Were you relieved to get out of KPS and go to Phoenix          ·9· · · · you know, say I needed help on a question.· They
     10· · · · after that incident, or did you want to stay at                10· · · · wouldn't care to help me.
     11· · · · Kalamazoo Central High School?                                 11· ·Q.· ·What kind of help were you looking for when you would
     12· ·A.· ·I didn't have a say-so.· They just said you guys can't         12· · · · ask a question?
     13· · · · come back.                                                     13· ·A.· ·Like help on work that I wasn't sure how to do, you
     14· ·Q.· ·Were you relieved at all to leave Kalamazoo Central            14· · · · know.
     15· · · · because of that incident?                                      15· ·Q.· ·When the COVID-19 pandemic hit in March of 2020 were
     16· ·A.· ·(Shakes head.)                                                 16· · · · you 100 percent remote for the rest of that school
     17· ·Q.· ·Remember yes or no for the record.                             17· · · · year?
     18· ·A.· ·I am not sure.                                                 18· ·A.· ·No.· I think I was hospitalized around that time.
     19· ·Q.· ·We talked about you then went from Phoenix to Comstock.        19· ·Q.· ·When do you think you were in the hospital in March of
     20· · · · Do you know why you went to Comstock?                          20· · · · 2020 or around that time?
     21· ·A.· ·To further my education.                                       21· ·A.· ·I would say around February.
     22· ·Q.· ·And what do you mean by that?                                  22· ·Q.· ·And how long were you in the hospital?
     23· ·A.· ·I went to Comstock to, I needed a few more credits in          23· ·A.· ·For about a month.
     24· · · · order to get my diploma.· So I went to Comstock to             24· ·Q.· ·And after you got out of the hospital was it remote
     25· · · · receive those credits.· But as I was going to Comstock         25· · · · learning?



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     ·1· ·A.· ·What do you mean by that?                                   ·1· · · · time I had work to accomplish or get done I would log
     ·2· ·Q.· ·Was anyone going to the school building for classes, or     ·2· · · · on, I would try to get it done.· And if I come to
     ·3· · · · was everyone doing school on the Internet?                  ·3· · · · something that I don't know of, I don't know how to do,
     ·4· ·A.· ·Yeah, online.· They were going to school online.            ·4· · · · I would message my teacher, hey, can you help me on
     ·5· ·Q.· ·And how about the following year, from fall of 2020 to      ·5· · · · this assignment.· But there never was a response.
     ·6· · · · spring of 2021?· Was school 100 percent remote?             ·6· ·Q.· ·How would you message your teacher?
     ·7· ·A.· ·No, it was still online.                                    ·7· ·A.· ·It was like on the online portal.· It was like a
     ·8· ·Q.· ·So it was online that school year?                          ·8· · · · message, like you can access with your teachers and you
     ·9· ·A.· ·Yes.                                                        ·9· · · · can message them saying like hey, just contact them and
     10· ·Q.· ·Were there any in-person classes?                           10· · · · ask them any questions or things of that such.
     11· ·A.· ·No.                                                         11· ·Q.· ·Did you try contacting them any other way?
     12· ·Q.· ·How did that go for you?                                    12· ·A.· ·Yes.· Or I would contact my teachers through email.
     13· ·A.· ·Not good.· I still wasn't getting the help that I was       13· · · · Like if they don't respond through the online portal I
     14· · · · asking.                                                     14· · · · would contact them through email.
     15· ·Q.· ·And when you say not good, why was it not good?             15· ·Q.· ·Do you still have copies of those emails?
     16· ·A.· ·Because I was still destined to receive my diploma, and     16· ·A.· ·Yes, I should have copies.
     17· · · · I was just a few credits away from receiving my             17· ·Q.· ·For the 2021-2022 school year was school back in person
     18· · · · diploma.· And after like COVID hit and I was                18· · · · for that school year?
     19· · · · hospitalized, you know, I decided I am just going to do     19· ·A.· ·No.· I think school was out for the rest of that school
     20· · · · my work online and submit it online.                        20· · · · year.
     21· · · · · · · · · And I would ask my teachers, like hey, can I      21· ·Q.· ·Okay.· So you think it was 100 percent remote '20-21
     22· · · · get help on this?· I would ask questions, and they          22· · · · and '21-22?
     23· · · · either wouldn't respond or they just wouldn't help me       23· ·A.· ·Yes.
     24· · · · at all.                                                     24· ·Q.· ·Was it remote for everyone or did you just elect to do
     25· ·Q.· ·Were you able to access the materials online?               25· · · · remote?


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     ·1· ·A.· ·No.· I was actually kind of like stumped with that.         ·1· ·A.· ·No.· It was remote for everyone after COVID.· Comstock,
     ·2· · · · Like I would tell them like hey, it's not letting me,       ·2· · · · they shut down the school.· So it wasn't in person at
     ·3· · · · you know, submit this or whatever the case was.· And I      ·3· · · · all.
     ·4· · · · would email them and say hey, can I get help on this        ·4· ·Q.· ·So Comstock switched to fully remote for everybody?
     ·5· · · · project or this assignment.· It's not letting me do         ·5· ·A.· ·Yeah.
     ·6· · · · such and such.· And they would be like they wouldn't        ·6· ·Q.· ·Besides the suspension that we talked about before you
     ·7· · · · say anything.· They wouldn't respond.                       ·7· · · · transferred over to Phoenix, have you been suspended
     ·8· ·Q.· ·And when you were asking for help, what do you mean by      ·8· · · · any other times?
     ·9· · · · help?                                                       ·9· ·A.· ·No.
     10· ·A.· ·Like around the time after I was hospitalized and I was     10· ·Q.· ·And are you currently enrolled in high school?
     11· · · · on bedrest I was asking my teachers like hey, can you       11· ·A.· ·No.
     12· · · · guys send me my work for this trimester.· And it took       12· ·Q.· ·When is the last time that you were enrolled in high
     13· · · · them a while to send my work.· So when I did receive my     13· · · · school?
     14· · · · work I was behind.                                          14· ·A.· ·The last time, the last school year of Comstock.
     15· · · · · · · · · So as I was trying to catch up I would ask        15· ·Q.· ·So would you say the end of the '22 school year?· Is
     16· · · · like hey, can you help me on this assignment?· Like         16· · · · that correct?
     17· · · · what are we supposed to be doing here?· Like, you know,     17· ·A.· ·Yes.
     18· · · · how am I supposed to go about this?· And my teacher,        18· ·Q.· ·And what made you decide not to finish high school?
     19· · · · she would not help me, she wouldn't answer my question.     19· ·A.· ·I didn't decide not to finish because I still would
     20· · · · She wouldn't even respond.                                  20· · · · like to receive my diploma.· Comstock, they just
     21· ·Q.· ·Did you log in for any of the online classes in the         21· · · · weren't helpful at all.· And any time I did ask for
     22· · · · 2020 to 2021 year?                                          22· · · · help they would oh, well, yeah, I know KPS, they will
     23· ·A.· ·Yes.                                                        23· · · · mention KPS.· Well, why are you mentioning KPS when I
     24· ·Q.· ·How often would you log on?                                 24· · · · need help?· I am confused.· So it's like
                                                                                                                         like.
     25· ·A.· ·I logged on every day.· Like any time I needed, any         25· ·Q.· ·What sorts of things did you want Comstock to do to



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     ·1· · · · help you receive your diploma?                                      ·1· · · · was full or they shut it down because of COVID.
     ·2· ·A.· ·Could you rephrase that?                                            ·2· ·Q.· ·Do you remember when you asked the principal at
     ·3· ·Q.· ·Yes.· What sorts of things were you looking for the                 ·3· · · · Comstock about that?
     ·4· · · · Comstock Schools to do in order to help you graduate                ·4· ·A.· ·Like around 2021-2022 school year.
     ·5· · · · from high school?                                                   ·5· ·Q.· ·But you haven't asked since then?
     ·6· ·A.· ·Like help me with my work and getting those few -- I                ·6· ·A.· ·Yeah.
     ·7· · · · was a few credits away from receiving my diploma. I                 ·7· ·Q.· ·So do you have in any plans in place to receive a high
     ·8· · · · received a credit in one class, but it was just these               ·8· · · · school diploma?
     ·9· · · · two classes that I was getting, I was not getting help              ·9· ·A.· ·Not at the moment, but I would like to have plans in
     10· · · · in because teachers stopped helping.· Like after COVID              10· · · · order to receive my diploma.
     11· · · · it was just like you guys have the online portal, you               11· ·Q.· ·When you were in school what was your favorite class?
     12· · · · don't need help.                                                    12· ·A.· ·History and English.
     13· ·Q.· ·What's your understanding of how many more credits you              13· ·Q.· ·And why did you like those classes?
     14· · · · need to graduate high school?                                       14· ·A.· ·Because I like to write and I like to learn about like
     15· ·A.· ·Like a few more credits.· I think I was like at 20, 20              15· · · · things that happened before my time.· Like I was
     16· · · · credits.                                                            16· · · · interested in things like that.
     17· ·Q.· ·Do you know how many you need to graduate?                          17· ·Q.· ·What would you say your reading level is?
     18· ·A.· ·Twenty-six.                                                         18· ·A.· ·I have a really good reading level.
     19· ·Q.· ·Have attempted to enroll in any adult education                     19· ·Q.· ·What was your least favorite class?
     20· · · · programs to help finish high school?                                20· ·A.· ·Algebra, only because I didn't understand it.
     21· ·A.· ·No.· I was looking into it, but I didn't really fill                21· ·Q.· ·Did you have a hard time with math?
     22· · · · out anything.· So no.                                               22· ·A.· ·I did.
     23· ·Q.· ·When you say you were looking into it, where did you                23· ·Q.· ·What would you say your math level is?
     24· · · · look?                                                               24· ·A.· ·I would say my math level is like middle school math
     25· ·A.· ·Like online, trying to find like somewhere that could               25· · · · level.· Like ninth grade math.· When it comes to


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     ·1· · · · help me receive the rest of the credits that I need in              ·1· · · · algebra it's like hard.
     ·2· · · · order to get my diploma.                                            ·2· ·Q.· ·Would you say that you oftentimes fell behind on your
     ·3· ·Q.· ·Where did you look online?                                          ·3· · · · classroom work?
     ·4· ·A.· ·I just Googled like some schools that, some online                  ·4· ·A.· ·No.· Only time I fell behind was when I was
     ·5· · · · schools that could help.                                            ·5· · · · hospitalized, but I would still get the work done after
     ·6· ·Q.· ·Did you do anything besides Google online schools?                  ·6· · · · the fact, even if I am behind.· I would still try to
     ·7· ·A.· ·(Shakes head.)                                                      ·7· · · · catch up so I could receive that credit.· But every
     ·8· ·Q.· ·Was that no?                                                        ·8· · · · time I would catch up and when I was behind and turning
     ·9· ·A.· ·Yes, no.                                                            ·9· · · · the work and make sure I don't have anything that's
     10· ·Q.· ·So I just want to clarify for the record, so the only               10· · · · missing, the teacher, like she wouldn't grade it or
     11· · · · thing you did was Google some online schools; is that               11· · · · anything.· She would just like.
     12· · · · right?                                                              12· ·Q.· ·What documentation do you have of completing all your
     13· ·A.· ·Yes, correct.                                                       13· · · · work and the teacher not grading it?
     14· ·Q.· ·Do you know what programs Kalamazoo Public Schools have             14· ·A.· ·Like I have emails of my teacher, of me asking my
     15· · · · for adults?                                                         15· · · · teacher like hey, can you grade this?· I have done
     16· ·A.· ·I don't.                                                            16· · · · this.· What can I do to get the grade?· Things of that
     17· ·Q.· ·How about Comstock?· Do you know what programs they                 17· · · · such.· Like I would communicate.
     18· · · · have for duties?                                                    18· ·Q.· ·Anything else to demonstrate that you completed all
     19· ·A.· ·No.                                                                 19· · · · your work but that the teachers just didn't grade it?
     20· ·Q.· ·Have you asked either school district about adult                   20· ·A.· ·Could you rephrase that?
     21· · · · programs?                                                           21· ·Q.· ·Sure.· Besides the emails, is there anything else that
     22· ·A.· ·I asked Comstock, but they never got back to me on                  22· · · · you have that would prove that you completed all of
     23· · · · that.· And I think I asked the principal, and he was                23· · · · your schoolwork but the teachers just didn't grade it?
     24· · · · saying that their programs were full I guess, that they             24· ·A.· ·Besides the emails I don't think I could go back into
     25· · · · weren't no longer receiving anybody.· I think either it             25· · · · my online portal to see like, you know.· So no, I don't



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     ·1· · · · Exhibit 10.· Do you know what this document is?           ·1· · · · -- well, they wouldn't respond and they would put in my
     ·2· ·A.· ·Yes.                                                      ·2· · · · grade as like missing, and they wouldn't give me my
     ·3· ·Q.· ·What is it?                                               ·3· · · · work in order for me to do the assignments so that I
     ·4· ·A.· ·This is a document according to my 504 Plan.              ·4· · · · could turn them in.
     ·5· ·Q.· ·And what is 504 Plan?                                     ·5· ·Q.· ·Next on your 504 it says excused medical absences.
     ·6· ·A.· ·A 504 Plan basically gives a summary of evaluation of     ·6· · · · Were you given excused absences for your
     ·7· · · · the needs that I will basically need during my school     ·7· · · · hospitalization?
     ·8· · · · year.                                                     ·8· ·A.· ·No.
     ·9· ·Q.· ·And this 504 Plan that I just handed you, this one is     ·9· ·Q.· ·What do you mean you were not given excused medical
     10· · · · dated from a meeting May 5th of 2017; is that right?      10· · · · absences?
     11· ·A.· ·Correct.                                                  11· ·A.· ·So that goes back to basically during my eighth grade
     12· ·Q.· ·Do you remember if you were at the meeting?               12· · · · year how they took me off of the roster because I was
     13· ·A.· ·I don't, I don't.                                         13· · · · absent due to me being hospitalized.· So that's
     14· ·Q.· ·So you don't remember if you were or not?                 14· · · · basically what that is.
     15· ·A.· ·No, I don't remember.                                     15· · · · · · · · · Like any time I am in the hospital they
     16· ·Q.· ·Do you remember attending any 504 meetings?               16· · · · don't, KPS didn't excuse that.
     17· ·A.· ·No.                                                       17· ·Q.· ·Did you have a 504 in eighth grade?
     18· ·Q.· ·On page 2 there is a list of aids and services to be      18· ·A.· ·Yes.
     19· · · · implemented according to this plan.· The first one says   19· ·Q.· ·You were exempt from Physical Education.· Were you
     20· · · · extended time to complete assignments without penalty.    20· · · · given that accommodation or were you forced to
     21· · · · Were you allowed to have additional time to complete      21· · · · participate in gym class?
     22· · · · assignments?                                              22· ·A.· ·No.
     23· ·A.· ·Yes, but they didn't obide [sic] by this service.         23· ·Q.· ·You were not forced to participant in gym class?
     24· ·Q.· ·What do you mean by that?                                 24· ·A.· ·No.
     25· ·A.· ·KPS, they didn't like, they didn't basically go by the    25· ·Q.· ·It says you were to be given a copy of textbooks for


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     ·1· · · · aids and services to be implemented by my 504 Plan.       ·1· · · · you to keep at home.· In 2017 were you provided with
     ·2· ·Q.· ·Can you repeat that or read it back?· Whichever is        ·2· · · · textbooks to keep at home?
     ·3· · · · easier.                                                   ·3· ·A.· ·Not at all.· No.
     ·4· · · · · · · · · (Requested portion of the record was read       ·4· ·Q.· ·Were you allowed access to water?
     ·5· · · · · · · · · ·by the reporter.)                              ·5· ·A.· ·No.
     ·6· · · · · · · · · THE WITNESS:· Correct.                          ·6· ·Q.· ·Teachers wouldn't let you get up to get a drink of
     ·7· · · · BY MS. HALLORAN:                                          ·7· · · · water?
     ·8· ·Q.· ·And what do you mean by that?                             ·8· ·A.· ·No.
     ·9· ·A.· ·So like if it was time to turn in assignments they        ·9· ·Q.· ·Were you allowed frequent bathroom breaks?
     10· · · · would basically mark my grade as missing or didn't,       10· ·A.· ·No.
     11· · · · like didn't turn in, when really I would complete the     11· ·Q.· ·Were you allowed to report to the counseling office to
     12· · · · assignment, they just wouldn't grade it.· Or they         12· · · · find a location to rest?
     13· · · · wouldn't give me my work to like do.                      13· ·A.· ·No.
     14· ·Q.· ·So it is your position that you never got the work in     14· ·Q.· ·Were you allowed to use the school elevator?
     15· · · · the first place or that you did complete all the work     15· ·A.· ·No.
     16· · · · and just didn't graded?                                   16· ·Q.· ·Were you given breaks during testing?
     17· ·A.· ·So the work I had before being hospitalized, I would      17· ·A.· ·No.
     18· · · · complete that and turn it in, but the teachers would      18· ·Q.· ·Were you given extended time for tests, quizzes and
     19· · · · never grade it or they would put my grade in as missing   19· · · · other assignments?
     20· · · · or haven't turned in or whatever.· They just would like   20· ·A.· ·No.
     21· · · · basically they would just, they wouldn't grade it.        21· ·Q.· ·Were you given a school locker assigned close to the
     22· · · · · · · · · So while I was hospitalized I would ask, I      22· · · · majority of your classes?
     23· · · · would communicate with my teachers through email, hey,    23· ·A.· ·No.
     24· · · · could you send me my assignments that I missed for this   24· ·Q.· ·Were you allowed to leave class to get your medication?
     25· · · · week to this week.· Either they wouldn't respond or       25· ·A.· ·No.



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     ·1· ·Q.· ·And all these questions I just asked you were as they          ·1· ·Q.· ·Did Comstock give you excused medical absences?
     ·2· · · · relate to 2017 when you were at KPS, correct?                           ·No.
                                                                              ·2· ·A.· ·No
     ·3· ·A.· ·Correct.                                                       ·3· ·Q.· ·Did Comstock exempt you from physical education class?
     ·4· ·Q.· ·Was your response all based on what happened when you          ·4· ·A.· ·No.
     ·5· · · · were at Central?                                               ·5· ·Q.· ·So you had to participate in gym class at Comstock?
     ·6· ·A.· ·Yes                                                            ·6· ·A.· ·Yes.
     ·7· · · · · · · ·DEPOSITION EXHIBIT 11                                   ·7· ·Q.· ·The next accommodation says provide student early
     ·8· · · · · · · ·WAS MARKED BY THE REPORTER                              ·8· · · · passing time to access your school locker, since you
     ·9· · · · · · · ·FOR IDENTIFICATION.                                     ·9· · · · become easily fatigued and carrying a backpack can
     10· · · · BY MS. HALLORAN:                                               10· · · · become a burden.· Were you provided this accommodation
     11· ·Q.· ·Miss Shepherd-Friday, I just handed you what's been            11· · · · at Comstock?
     12· · · · marked MDE's Exhibit 11.· Do you recognize this                12· ·A.· ·No.
     13· · · · document?                                                      13· ·Q.· ·Were you ever?
     14· ·A.· ·Yes.                                                           14· ·A.· ·No.
     15· ·Q.· ·And what is that?                                              15· ·Q.· ·Were you provided a copy of textbooks for you to keep
     16· ·A.· ·My 504 Plan.                                                   16· · · · at home at Comstock?
     17· ·Q.· ·And this one is dated for a meeting date in June of            17· ·A.· ·No.
     18· · · · 2018; is that right?· If you look on the first page at         18· ·Q.· ·Were you allowed access to water during class?
     19· · · · the very top.                                                  19· ·A.· ·No.
     20· ·A.· ·Yes.                                                           20· ·Q.· ·Your answer is no?
     21· ·Q.· ·And this is when you were still enrolled in KPS, right?        21· ·A.· ·Yes, correct.
     22· ·A.· ·Yes.                                                           22· ·Q.· ·Were you allowed bathroom breaks?
     23· ·Q.· ·And it looks like the accommodations on page 2 are             23· ·A.· ·No.
     24· · · · similar to the ones we just went over in Exhibit 10.           24· ·Q.· ·Were you allowed upon your request to report to the
     25· · · · Is your position that you weren't given any of these           25· · · · counseling office to find a location to rest?


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     ·1· · · · accommodations by KPS?                                         ·1· ·A.· ·No.
     ·2· ·A.· ·Correct.                                                       ·2· ·Q.· ·Were you given breaks during testing?
     ·3· · · · · · · ·DEPOSITION EXHIBIT 12                                   ·3· ·A.· ·No.
     ·4· · · · · · · ·WAS MARKED BY THE REPORTER                              ·4· ·Q.· ·Were you given extended time for tests, quizzes, and
     ·5· · · · · · · ·FOR IDENTIFICATION.                                     ·5· · · · other assignments?
     ·6· · · · BY MS. HALLORAN:                                               ·6· ·A.· ·No.
     ·7· ·Q.· ·Miss Shepherd-Friday, I just handed you what's been            ·7· ·Q.· ·Were you given a school locker close to the majority of
     ·8· · · · marked as MDE's Exhibit 12.· What is this document?            ·8· · · · your classes?
     ·9· ·A.· ·My 504 Plan.                                                   ·9· ·A.· ·No.
     10· ·Q.· ·And is this one from a meeting date of October 14th of         10· ·Q.· ·Were you allowed to leave class to get your medication?
     11· · · · 2019?                                                          11· ·A.· ·No.
     12· ·A.· ·Yes.                                                           12· · · · · · · ·DEPOSITION EXHIBIT 13
     13· ·Q.· ·Do you remember where you were enrolled in school in           13· · · · · · · ·WAS MARKED BY THE REPORTER
     14· · · · 2019?                                                          14· · · · · · · ·FOR IDENTIFICATION.
     15· ·A.· ·I think Phoenix High School.                                   15· · · · BY MS. HALLORAN:
     16· ·Q.· ·It says Comstock at the top.· Could that be accurate?          16· ·Q.· ·Miss Shepherd-Friday, I just handed you what's been
     17· ·A.· ·Oh.· Yes.                                                      17· · · · marked as MDE's Exhibit 13.· Do you recognize this
     18· ·Q.· ·Let's go through on page 2 the plan and Aids and               18· · · · document?
     19· · · · Services to be implemented.· So this is as they relate         19· ·A.· ·No.
     20· · · · to Comstock.· Did Comstock give you extended time to           20· ·Q.· ·In 2020 do you remember your 504 Plan being
     21· · · · complete assignments without penalty?                          21· · · · discontinued and instead having an IEP?
     22· ·A.· ·No.                                                            22· ·A.· ·No.
     23· ·Q.· ·Did that ever happen or did they always deny you               23· · · · · · · ·DEPOSITION EXHIBIT 14
     24· · · · extended time?                                                 24· · · · · · · ·WAS MARKED BY THE REPORTER
     25· ·A.· ·They always denied me extended time.                           25· · · · · · · ·FOR IDENTIFICATION.



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     ·1· · · · BY MS. HALLORAN:                                         ·1· ·Q.· ·Where do you want to go to college?
     ·2· ·Q.· ·Miss Shepherd-Friday, I just handed you what's been      ·2· ·A.· ·I want to go to college at either -- well, it doesn't
     ·3· · · · MDE's Exhibit 14.· Do you recognize this document?       ·3· · · · really matter to me.· I just want to further my
     ·4· ·A.· ·No.                                                      ·4· · · · education so that I can become a, like I want to -- I
     ·5· ·Q.· ·You testified earlier that you remember being on an      ·5· · · · am interested in like medicine and how to like make
     ·6· · · · IEP; is that right?                                      ·6· · · · medicine and stuff like that.· So yes.· Pharmacy
     ·7· ·A.· ·Yes.                                                     ·7· · · · technician, that's what it is.
     ·8· ·Q.· ·Do you ever remember reviewing any of the reports or     ·8· ·Q.· ·So you want to be a pharmacy tech?
     ·9· · · · documents about the IEP?                                 ·9· ·A.· ·Yes.
     10· ·A.· ·No.                                                      10· ·Q.· ·Given your episodes of sickling crisis do you think it
     11· · · · · · · ·DEPOSITION EXHIBIT 15                             11· · · · would be difficult work as a pharmacy tech?
     12· · · · · · · ·WAS MARKED BY THE REPORTER                        12· ·A.· ·Maybe.
     13· · · · · · · ·FOR IDENTIFICATION.                               13· ·Q.· ·How would it be difficult?
     14· · · · BY MS. HALLORAN:                                         14· ·A.· ·By being like moving around and being on my feet most
     15· ·Q.· ·Miss Shepherd-Friday, I just handed you what's been      15· · · · of the time.
     16· · · · marked as MDE's Exhibit 15.· Do you recognize this       16· · · · · · · ·DEPOSITION EXHIBIT 16
     17· · · · document?                                                17· · · · · · · ·WAS MARKED BY THE REPORTER
     18· ·A.· ·I don't.                                                 18· · · · · · · ·FOR IDENTIFICATION.
     19· ·Q.· ·You testified earlier that you may have remembered       19· · · · BY MS. HALLORAN:
     20· · · · being at an IEP meeting in May of 2021; is that right?   20· ·Q.· ·I have just handed you what's been marked MDE's Exhibit
     21· ·A.· ·Correct.                                                 21· · · · 16.· It is a letter marked with OCR Docket
     22· ·Q.· ·Do you remember reviewing the plan for that IEP during   22· · · · # 15-18-1188, and it appears to be signed by your
     23· · · · that meeting?                                            23· · · · mother.· Have you seen this document before?
     24· ·A.· ·No.                                                      24· ·A.· ·No.
     25· ·Q.· ·Have you ever been charged with any crime?               25· ·Q.· ·Do you know if there was a Complaint made on your


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     ·1· ·A.· ·Absolutely not.                                          ·1· · · · behalf to the U.S. Department of Education?
     ·2· ·Q.· ·Have you ever been arrested?                             ·2· ·A.· ·Actually, I have seen this document before, but no, I
     ·3· ·A.· ·No.                                                      ·3· · · · do not know if there was a Complaint made.
     ·4· ·Q.· ·Did you have any contact with the juvenile justice       ·4· ·Q.· ·And in what way have you seen this document before?
     ·5· · · · system?                                                  ·5· ·A.· ·My mom, she typed it up on her computer basically.
     ·6· ·A.· ·No.                                                      ·6· ·Q.· ·Besides the State Complaints and the Due Process
     ·7· ·Q.· ·Do you have any social media?                            ·7· · · · Complaints that we talked about today, have you
     ·8· ·A.· ·Yes.                                                     ·8· · · · complained to any other entities about the education
     ·9· ·Q.· ·What social media do you use?                            ·9· · · · that you received?
     10· ·A.· ·I have Instagram.                                        10· ·A.· ·No.
     11· ·Q.· ·Do you have Facebook?                                    11· ·Q.· ·Were there any other Complaints that you know of that
     12· ·A.· ·No.                                                      12· · · · were filed with MDE besides the ones that we spoke
     13· ·Q.· ·TikTok?                                                  13· · · · about today?
     14· ·A.· ·Oh, yes.                                                 14· ·A.· ·I don't know.
     15· ·Q.· ·Do you post on Instagram?                                15· · · · · · · ·DEPOSITION EXHIBIT 17
     16· ·A.· ·No.                                                      16· · · · · · · ·WAS MARKED BY THE REPORTER
     17· ·Q.· ·Do you post on TikTok?                                   17· · · · · · · ·FOR IDENTIFICATION.
     18· ·A.· ·No.                                                      18· · · · BY MS. HALLORAN:
     19· ·Q.· ·Do you consume any alcohol?                              19· ·Q.· ·Miss Shepherd-Friday, I just handed you what's been
     20· ·A.· ·No.                                                      20· · · · marked MDE's Exhibit 17.· Do you recognize this
     21· ·Q.· ·Besides the medication that you are prescribed by your   21· · · · document?
     22· · · · doctors do you consume any drugs?                        22· ·A.· ·No.· Well, yes, I do.
     23· ·A.· ·No.                                                      23· ·Q.· ·What is this document?
     24· ·Q.· ·Do you want to go to college?                            24· ·A.· ·This document is a Complaint.
     25· ·A.· ·I do
                 do.                                                    25· ·Q.· ·It's a Complaint from this lawsuit, right?



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